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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-60788-CIV-MARTINEZ/SNOW

  SPRINT COMMUNICATIONS, INC.,

                 Plaintiff/Counter-Defendant,

  v.

  STEPHEN CALABRESE, as an individual,
  NEXTEL, INC. d/b/a NEXTEL WORLDWIDE,
  RETROBRANDS USA LLC, and
  JEFFREY KAPLAN, as an individual,

              Defendants/Counterclaimants.
  _________________________________________/

                                                ORDER

                 This matter is before the Court on Plaintiff’s Motion to Compel (ECF No. 70), which

  was referred to the undersigned by the Honorable Jose E. Martinez, United States District Judge.

  (ECF No. 54) Plaintiff’s Motion is 25 pages, which exceeds the 5 page limit set forth in the Court’s

  General Order on Discovery Objections and Procedures. (ECF No. 55)1 Accordingly, it is

                 ORDERED and ADJUDGED that the Motion to Compel (ECF No. 70) is DENIED,

  without prejudice to refile a motion which complies with the Court’s General Order on Discovery

  Objections and Procedures.

                 DONE and ORDERED at Fort Lauderdale, Florida this 10th day of October, 2018.




  Copies to:
  Counsel of Record

         1
          In addition, Plaintiff’s “Certificate of Compliance with Local Rule 7.1" fails to comply
  with S.D. Fla. L.R. 7.1(a)(3).
